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IN THE UNITED STATES DISTRICT COURT %(
FOR THE WESTERN DISTRICT OF TENNESSEE 05 ~.;-; §§ `_,`_§__i § 5
WESTERN DIVISION
JAMES HAMBY ) m fa€j_ iv ., j?.'
, "w'¢ ` ' , i‘ ia'._'\VI\BHL
Plaintiff ) _. _D. Oc~ H\t v o
)
V- ) Civil Action No. 04-2758
)
JO ANNE B. BARNHART, )
Commissioner of Social Security )
)
Defendant )
ORDER OF REMAND

Pursuant to the power of this court to enter a judgment affinning, modifying, or reversing
the Cornmissioner's decision With remand in Social Security actions under sentence four of
section 205(g) of the Social Security Act, 42 U.S.C. § 405(g), and in light of the Commissioner's
motion to remand this action, this case is hereby remanded pursuant to sentence four of
42 U.S.C. § 405(g). Upon remand, the administrative law judge (“ALJ”) Will:

l) Properly evaluate Plaintiff"s credibility in accordance With applicable regulations, case
law and Social Security Rulings, by articulating specific reasons for the conclusions reached.
The ALJ did not discuss any of the credibility factors outlined in the regulations or case law, nor
did he provide specific reasons for his credibility finding

2) Properly evaluate the medical source opinion evidence of record, by articulating the
Weight given to each. Opinions from several doctors are contained in the record. However, the
ALJ did not indicate What weight if any, was given to each medical source.

3) Properly evaluate Plaintiff" s residual functional capacity (“RFC”) by taking into

account all of Plaintiff’s credible exertional and noexertional limitations Although the ALJ

   

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found that Plaintiff’ s only several impairment was chronic obstructive pulmonary disease
(“COPD”), the ALJ’s RFC finding does not account for any environmental limitations

4) Re-evaluate Whether Plaintiff’s severe impairment of COPD meets or equals a listing.

5) Upon re-evaluating Plaintiff’s RFC and taking into account all credible exertional and
nonexertional limitations, properly evaluate Plaintiff`s ability to perform his past relevant work.

6) Update the record by requesting the treating sources to provide additional evidence and
medical source statements about what P]aintiff can still do despite his impairments

7) As appropriate, obtain a new internal medicine consultative examination with a
medical source statement

8) If warranted by the expanded record, obtain evidence from a medical expert
specializing in pulmonary disease to clarify the nature and severity of Plaintiff’ s impairment

9) Obtain evidence from a vocational expert to clarify the effect of Plaintiffj s assessed
limitations on the occupational base.

Based on the foregoing, this Court hereby enters a judgment reversing the decision of the
ALJ and remanding this case to the Commissioner pursuant to sentence four of 42 U.S.C. §
405(g). §§ Melkonyan v. Sullivan, 501 U.S. 89, lll S.Ct. 2157 (1991); Shala]a v. Schaefer,
509 U.S. 292, 113 S.Ct. 2625 (1993). Upon remand, the Commissioner shall take action

consistent with this order.

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so oRDERED this 52 b day of

  

ICE B. ON LD
ITED STATES DISTRICT JUDGE

D1R1T COURT - WESTENR 1CSR1T oF TNNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

